         Case 1:20-cv-05263-VMC Document 188 Filed 09/07/22 Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 W.K., E.H., M.M., R.P., M.B., D.P., A.F.,
 C.A., R.K., K.P., and T.H.,

        Plaintiffs,
                                              CIVIL ACTION FILE
 v.
                                              NO. 1:20-cv-5263-MHC
 RED ROOF INNS, INC., FMW RRI NC,
 LLC, RED ROOF FRANCHISING, LLC,
                                              JURY TRIAL DEMANDED
 RRI WEST MANAGEMENT, LLC,
 VARAHI HOTEL, LLC, WESTMONT
                                              Pursuant to Fed. R. Civ. P. 38
 HOSPITALITY GROUP, INC., and RRI
 III, LLC,

         Defendants.


 JANE DOE 1–4,
                                              CIVIL ACTION FILE
         Plaintiffs,
                                              NO. 1:21-cv-04278-WMR
 v.
                                              JURY TRIAL DEMANDED
 RED ROOF INNS, INC., et al.
                                              Pursuant to Fed. R. Civ. P. 38
         Defendant,


                         CERTIFICATE OF SERVICE

        I hereby certify that on September 6, 2022, I served a true and correct

copy of the following expert reports via email to all counsel of record:



#3424356v1
                                        1
         Case 1:20-cv-05263-VMC Document 188 Filed 09/07/22 Page 2 of 5




        1. Expert Report of Melanie Bliss, Ph.D.;

        2. Expert Report of Alan Tallis;

        3. Expert Report of Anique Whitmore; and

        4. Expert Reports of David Williamson, MD:
             a. Forensic Neuropsychiatric Evaluation of AF by David
                Williamson, MD;
             b. Forensic Neuropsychiatric Evaluation of Jane Doe 4 by David
                Williamson, MD;
             c. Forensic Neuropsychiatric Evaluation of EH by David
                Williamson, MD;
             d. Forensic Neuropsychiatric Evaluation of CA by David
                Williamson, MD;
             e. Forensic Neuropsychiatric Evaluation of DP by David
                Williamson, MD;
             f. Forensic Neuropsychiatric Evaluation of WK by David
                Williamson, MD;
             g. Forensic Neuropsychiatric Evaluation of KP by David
                Williamson, MD;
             h. Forensic Neuropsychiatric Evaluation of TH by David
                Williamson, MD;
             i. Forensic Neuropsychiatric Evaluation of RK by David
                Williamson, MD;
             j. Forensic Neuropsychiatric Evaluation of Jane Doe 3 by David
                Williamson, MD;
             k. Forensic Neuropsychiatric Evaluation of Jane Doe 2 by David
                Williamson, MD;
             l. Forensic Neuropsychiatric Evaluation of Jane Doe 1 by David
                Williamson, MD;
             m. Forensic Neuropsychiatric Evaluation of MM by David
                Williamson, MD;


#3424356v1
                                           2
         Case 1:20-cv-05263-VMC Document 188 Filed 09/07/22 Page 3 of 5




             n. Forensic Neuropsychiatric Evaluation of MB by David
                Williamson, MD; and
             o. Forensic Neuropsychiatric Evaluation of RP by David
                Williamson, MD.

        Respectfully submitted this 7th day of September, 2022.


                                      /s/ Michael R. Baumrind
                                      John E. Floyd
                                      Georgia Bar No. 266413
                                      floyd@bmelaw.com
                                      Manoj S. Varghese
                                      Georgia Bar No. 734668
                                      varghese@bmelaw.com
                                      Tiana S. Mykkeltvedt
                                      Georgia Bar No. 533512
                                      mykketlvedt@bmelaw.com
                                      Amanda Kay Seals
                                      Georgia Bar No. 502720
                                      seals@bmelaw.com
                                      Michael R. Baumrind
                                      Georgia Bar No. 960296
                                      baumrind@bmelaw.com
                                      Juliana Mesa
                                      Georgia Bar No. 585087
                                      mesa@bmelaw.com


BONDURANT, MIXSON & ELMORE, LLP
1201 West Peachtree Street, N.W., Suite 3900
Atlanta, Georgia 30309
(404) 881-4100 – Telephone
(404) 881-4111 – Facsimile




#3424356v1
                                         3
         Case 1:20-cv-05263-VMC Document 188 Filed 09/07/22 Page 4 of 5




                                     Jonathan S. Tonge
                                     jtonge@atclawfirm.com
                                     Georgia Bar No. 303999
                                     Patrick J. McDonough
                                     Georgia Bar No. 489855
                                     pmcdonough@atclawfirm.com


ANDERSEN, TATE & CARR, P.C.
One Sugarloaf Centre
1960 Satellite Boulevard, Suite 4000
Duluth, Georgia 30097
(770) 822-0900 – Telephone
(770) 822-9680 – Facsimile

                            Attorneys for Plaintiffs




#3424356v1
                                       4
         Case 1:20-cv-05263-VMC Document 188 Filed 09/07/22 Page 5 of 5




                         CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of September, 2022, I served a true

and correct copy of the within and foregoing CERTIFICATE OF SERVICE

using the CM/ECF filing system which will cause copies to be served on counsel

as follows:

 Charles K. Reed, Esq.                    Warner S. Fox, Esq.
 Adi Allushi, Esq.                        C. Shane Keith, Esq.
 Emma J. Fennelly, Esq.                   Elliott C. Ream, Esq.
 Lillian Henry, Esq.                      Hawkins Parnell & Young LLP
 Tameika Briscoe                          303 Peachtree Street, N.E.
 Lewis Brisbois Bisgaard & Smith          Suite 4000
 LLP                                      Atlanta, Georgia 30308-3243
 Bank of America Plaza                    wfox@hpylaw.com
 600 Peachtree Street, N.E.               skeith@hpylaw.com
 Suite 4700                               eream@hpylaw.com
 Atlanta, Georgia 30308
 Chuck.Reed@lewisbrisbois.com
 Adi.Allushi@lewisbrisbois.com
 Emma.Fennelly@lewisbrisbois.com
 Lillian.Henry@lewisbrisbois.com
 Tameika.Briscoe@lewisbrisbois.com


                                      /s/ Michael R. Baumrind




#3424356v1
                            Certificate of Service Page
